   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 1 of 13




       IN THE UNITED STATES DISTRICT COURT FOR THE
      SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

PATRICK HENRY MURPHY, JR.,                     §
Plaintiff,                                     §
                                               §
v.                                             §
                                               §
BRYAN COLLIER, Executive Director,             §
Texas Department of Criminal Justice,          §
Huntsville, Texas                              §
                                               § Civil No.4:19-cv-01106
LORIE DAVIS, Director, Texas Department § ***CAPITAL CASE***
of Criminal Justice, Correctional Institutions §
Division, Huntsville, Texas                    §
                                               §
BILLY LEWIS, Warden, Texas Department §
of Criminal Justice, Huntsville Unit,          §
Huntsville, Texas                              §
                                               §
Defendants.                                    §


      Briefing Pursuant to the Court’s June 24, 2020 Order

     On June 24, 2020, the Court entered an Order denying the

Defendants’ Motion for Reconsideration. ECF No. 91. In the order, the

Court invited the parties to submit additional briefing on any of the

four topics suggested by the Court’s Order. Counsel now files this

briefing pursuant to the Court’s Order. This briefing responds to the

second, third, and fourth topics suggested in the Court’s Order: the role

the presence of clergy has played in executions throughout history and


                                     1
     Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 2 of 13




in Texas specifically, the policies of other jurisdictions regarding access

to chaplains before an execution and in the execution chamber, and the

training or experience a spiritual advisor should have before being

allowed in the execution chamber.

I.    The role the presence of clergy has played in executions
      throughout history and in Texas specifically

      In the Christian tradition, the presence of a member of the clergy

at the time of death derives from the Jesus Christ’s execution and his

ministry to the men being crucified alongside him. See Luke 23:42-43.

The belief that a person’s dying moments are critical to salvation has

long persisted. See, e.g., Ralph A. Houlbrooke, Death, Religion, and the

Family in England, 1480-1750 147-49 (1998). Of course, that belief (i.e.

that a person’s dying moments are critical) is not one that is unique to

Christianity. As this Court is well-aware, the belief that precipitated

this suit is a Buddhist’s belief that his ability to enter into the afterlife

for which he strives depends upon his ability to maintain focus on the

Buddha during his dying moments.

      In this country during the nineteenth century, executions were

conducted in public. Clergy were present on the gallows during these

events. Stuart Banner, The Death Penalty: An American History 35-36


                                       2
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 3 of 13




(2002). With a large audience usually present, these ministers would

often take the opportunity to deliver a sermon to the audience

consisting largely of what the spectators needed to do to avoid the soon-

to-be fate of the person who was being executed. Id. However, in the

immediate moments before the execution, their attention turned to

providing comfort to the condemned.

     Many of the surviving accounts of executions carried out during

this period involve those of the conspirators found to be responsible for

the assassination of Abraham Lincoln. On July 5, 1865, President

Andrew Johnson endorsed a military commission’s recommendation of a

death sentence for George Atzerodt, David Herold, Lewis Powell, and

Mary Surratt for conspiring to assassinate the president, then-Vice

President Johnson, and Secretary of State William Seward. Elizabeth

D. Leonard, Lincoln's Avengers: Justice, Revenge, and Reunion after the

Civil War 130 (2004). The four prisoners were given the opportunity to

meet with a spiritual advisor before their sentences were carried out.

Id. Mary Surratt requested two Catholic priests, Fathers Jacob A.

Walker and B.F. Wiget, be present with her. Id. Powell requested a




                                     3
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 4 of 13




Baptist minister. Id. Atzerodt agreed to meet with a Lutheran pastor

recommended by one of the officers overseeing the execution. Id.

     On the afternoon of July 7, 1865 “the condemned, their guards,

and their spiritual advisers moved slowly through the prison door,

across the courtyard, and up the thirteen steps to the gallows platform.”

Id. at 133. A priest held a crucifix in front of Mary Surratt as she

walked through the courtyard. James L. Swanson & Daniel Weinberg,

Lincoln’s Assassins: Their Trial and Execution 28 (2008). Powell spoke

with his spiritual adviser. Id. “[W]hile Father Wiget held the cross

before [Surratt], Father Walter read the preparatory prayers for death.”

Id. Atzerodt listened attentively to his spiritual advisor. Id. As the

execution order was read, Surratt’s spiritual advisers were “engaged

[in] administering the sacrament.” Id. After all of the preparations were

made, the executioner gave the signal and the four prisoners were

simultaneously executed. Id.

     When executions were removed from the public view, the sermon

that had accompanied them disappeared, but members of the clergy

remained part of the process to counsel and provide comfort to the

condemned. Walter C. Long, The Constitutionality and Ethics of



                                     4
    Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 5 of 13




Execution-Day Prisonchaplaincy, 21 Tex. J.C.L. &. C.R. 1, 11 (2015). In

Texas, before Defendants amended their execution protocol in 2019,

prison chaplains would accompany the condemned into the execution

chamber, and they would often place their hands on the prisoners until

the condemned died as a way of providing some amount of comfort to

the soon-to-be executed. Id. at 12.

      Reverend Carroll Pickett was a TDCJ chaplain and participated in

executions at the Walls Unit from 1982 until 1995.1 One of the

executions he remembers most vividly is that of Carlos DeLuna, who

was executed on December 7, 1989. In his memoir, Pickett recalls how

DeLuna became distressed in the execution chamber when he (Pickett)

was blocked from DeLuna’s view by members of the tie-down team. Rev.

Carroll Pickett, Within These Walls: Memoirs of a Death House

Chaplain (St. Martin’s Press 2002). DeLuna had requested Pickett hold

his hand during while he was executed. Id. Not allowed to hold his

hand, Pickett instead held DeLuna’s ankle and, in that way, comforted

DeLuna in his final moments. Id. Rev. Ken Houston similarly provided



      1 See, e.g., Kiko Martinez, Death and the Chaplain, San Antonio Current
(Apr. 30, 2008), available at https://www.sacurrent.com/sanantonio/death-and-the-
chaplain/Content?oid=2282894.

                                        5
      Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 6 of 13




comfort to the inmates he accompanied during their executions by

holding their legs.2

       While Defendants have reacted to Murphy’s request by removing

the clergy from the execution chamber in Texas altogether, members of

the clergy continue to play a role in the execution chamber in other

jurisdictions. For example, the last person to be executed in this country

was Dustin Lee Honken. Mr. Honken was executed on July 17, 2020—

one week prior to this brief’s filing. As explained in greater detail below,

Mr. Honken was allowed to have a Catholic priest, who is not employed

by the Federal Bureau of Prisons, present in the execution chamber

during his execution.

II.    The policies of other jurisdictions regarding access to
       chaplains before an execution and in the execution
       chamber

       As was the case of Defendants’ execution protocol prior to its April

2, 2019 amendment, the protocols of other jurisdictions are often

unclear as to whether a spiritual advisor will be permitted to remain in

the chamber during an execution. The Code of Federal Regulations


       2 Jennifer Lee Preyss, Former death row minister reflects on service, Victoria
Advocate (Feb. 2, 2018), available at
https://www.victoriaadvocate.com/news/features/faith/former-death-row-minister-
reflects-on-service/article_d95b12f6-a77a-5f5f-a68b-72c6a76cc66c.html.

                                          6
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 7 of 13




contains the protocol for executions conducted by the federal

government. While the regulations state one spiritual advisor of the

inmate’s choosing will be permitted to “be present at the execution,” the

regulations do not make clear whether the spiritual advisor is

permitted to be present in the chamber itself. See 28 C.F.R. § 26.4(c)(3).

Even so, despite the fact the issue is not made entirely clear in the

regulations themselves, recent practice does make clear that the policy

allows spiritual advisors to remain in the execution chamber during an

execution carried out by the federal government.

     Specifically, three of the six executions conducted by the federal

government during the post-Furman error have occurred within the ten

days preceding this brief’s filing: Daniel Lewis Lee was executed on July

14, 2020; Wesley Ira Purkey was executed on July 16; and Dustin Lee

Honken was executed on July 17. While Counsel is not aware of

whether Mr. Lee requested a spiritual advisor be present with him in

the execution chamber, such a request was made Purkey and Honken.

And indeed, ostensibly because of that request, chaplains were present

in the execution chamber during the executions of both Purkey and

Honken. Exhibit A (Amended Memorandum for Dustin Honken); Vic



                                     7
    Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 8 of 13




Ryckaert, Elizabeth DePompei, & Justin L. Mack, Wesley Ira Purkey

executed in Terre Haute, 2nd man put to death this week, IndyStar (July

16, 2020).3 (Counsel is not aware whether the chaplain who

accompanied Purkey during his execution is employed by the Federal

Bureau of Prisons;4 counsel is aware that Fr. Mark O’Keefe, who

accompanied Honken during his execution, is not employed by the BOP.

Mem. in Support of the Mtn. of Father Mark O’Keefe to Intervene as Pl.

at 3, Hartkemeyer v. Barr, No. 2:20-CV-00336-JMS-MJD (S.D. Ind. July

7, 2020).)

      Just as the federal regulations are not entirely perspicuous on the

permissibility of having clerical figures in the execution chamber, state

execution protocols are similarly lacking in precision or specificity.

Nevertheless, what is entirely clear is that many of the states that

currently execute prisoners give the condemned inmate greater access



      3 This article is available at
https://www.indystar.com/story/news/crime/2020/07/16/wesley-purkey-executed-
terre-haute/5442505002/.

      4 Dale Hartkemeyer, also known as Seigen, is a Buddhist priest who is not
employed by the BOP and is the person Purkey had sought to have present during
his execution. Counsel is not aware of whether Seigen, who feared his being present
at Purkey’s execution would expose him to Covid-19, was present during the
execution. It is possible a BOP-employed chaplain served in that capacity during
Purkey’s execution.

                                         8
    Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 9 of 13




to his spiritual advisor during the moments before he is executed than

does Texas. After Texas, the state that has executed the most prisoners

during the modern era is Virginia. Though not made clear from the

state’s execution protocol, Counsel has been informed that spiritual

advisors have been permitted to walk an inmate into the execution

chamber in Virginia before being escorted to the viewing area.5 Counsel

has also been informed spiritual advisors are allowed to accompany

inmates to the chamber door in Idaho.6 An article published in 1999

indicates that, at that time, the following states allowed condemned

inmates to visit with their spiritual advisors until they were escorted to

the execution chamber: Alabama, Arkansas, Idaho, Kentucky,

Louisiana, Montana, Nebraska, New Jersey, New Mexico, New York,7

Ohio, Oklahoma, Pennsylvania, South Carolina, Tennessee, Utah, and



      5  If the Court so desires, Counsel can provide it with a copy of Virginia’s
protocol (which is unclear) as well as an email from Elizabeth Peiffer, a staff
attorney for the Virginia Capital Representation Resource Center, in which Ms.
Peiffer informed Counsel of Virginia’s practice.

      6 As is true for Virginia, this is not clear from Idaho’s protocol. If the Court so
desires, Counsel can provide it with a copy of Idaho’s protocol as well as an email
from Jonah Horwitz, Assistant Federal Defender, that makes clear the spiritual
advisor for the last client of his who was executed was allowed to visit him until he
was taken to the execution chamber.

      7   New York no longer executes inmates.

                                            9
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 10 of 13




Virginia. See James R. Acker et al., A Glimmer of Light in the Shadows

of Death: Condemned Prisoners’ Access to Spiritual Advisors—An

Assessment of Policies and Practices, 2 Contemp. Just. Rev. 235, 249-53

(1999).

     In short, the policy in virtually all death penalty jurisdictions,

including the federal policy, is that spiritual advisors are allowed to

remain with the inmate up until the very moment the inmate is

marched into the execution chamber; and in at least some jurisdictions,

including the federal government, the advisor may remain with the

condemned during the execution itself. Finally, it warrants emphasis

that the State of Texas itself was representative of this overwhelming

consensus and allowed a pastoral presence in the execution chamber

itself from the time the death penalty returned to Texas in 1982,

through March 2019, when Mr. Murphy requested that a Buddhist

pastor, rather than a Christian, be the spiritual advisor permitted to

stand by the condemned.

III. The training or experience a spiritual advisor should have
     before being allowed to in the execution chamber

     Throughout this litigation, Defendants have stressed that the

security training given to TDCJ-employed chaplains, which is the same


                                    10
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 11 of 13




training given to all new hires before they begin service to TDCJ, is

necessary to prepare someone to be present in the execution chamber

during an execution. The record suggests, however, that the

Defendants’ invocation of a security rationale is entirely pretextual, for

this supposedly critical training does not provide any instruction

related to executions. ECF No. 38-6 (Testimony of Chaplain Brouwer) at

9-10.8

      In any event, to the extent Christian chaplains permitted by

TDCJ to accompany the condemned during the execution receive special

training, Counsel agree the same training should be offered to non-

Christian spiritual advisors; and Counsel for Murphy specifically

acknowledge and agree that Mr. Murphy's spiritual advisor, Rev. Shih,

should complete whatever training other TDCJ chaplains receive before


      8 Counsel deposed an anonymous security officer on March 5. While Counsel
for Defendants did not request an opportunity to have the officer review the
deposition pursuant to FRCP 30(e)(1), undersigned Counsel is giving the officer an
opportunity to review the deposition and forwarded a copy of it to Counsel for
Defendants on July 19. Counsel for Defendants has yet to inform undersigned
Counsel whether the officer believes it contains any inaccuracies. If the Court
should so desire and would permit Counsel to file it under seal (because it is covered
by a protective order), Counsel could file the transcript from this deposition. The
transcript makes clear that the preservice training does not include training for
execution. That training is done on-the-job.
      As for federal executions, Counsel is not aware of what training, if any, Fr.
O’Keefe received prior to his being permitted to be present in the execution chamber
during Honken’s execution.

                                         11
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 12 of 13




being present to minister to the condemned inside the chamber during

the execution.

                          Respectfully submitted,

       /s/ David R. Dow                       /s/ Jeffrey R. Newberry
   _______________________                   _______________________
         David R. Dow                           Jeffrey R. Newberry
   Texas Bar No. 06064900                    Texas Bar No. 24060966
    University of Houston                      University of Houston
          Law Center                                 Law Center
      4604 Calhoun Rd.                            4604 Calhoun Rd.
  Houston, Texas 77204-6060                 Houston, Texas 77204-6060
      Tel. (713) 743-2171                       Tel. (713) 743-6843
      Fax (713) 743-2131                        Fax (713) 743-2131

                 Counsel for Patrick Henry Murphy, Plaintiff




                                     12
   Case 4:19-cv-01106 Document 92 Filed on 07/24/20 in TXSD Page 13 of 13




                         Certificate of Service

      I certify that on July 24, 2020, I electronically filed the foregoing
pleading using the electronic case-filing system of the Court. A notice of
electronic filing was sent to:

     Leah O’Leary
     Amy Prasad
     Office of the Attorney General
     P.O. Box 12548 7th Fl.
     William P. Clements Building
     Austin, Texas 78711-2548
     Tel. 512-463-2080

                                              s/ Jeffrey R. Newberry
                                              ____________________
                                              Jeffrey R. Newberry




                                    13
